Case 2:19-cr-20733-GAD-APP ECF No. 42, PageID.233 Filed 08/23/21 Page 1 of 7




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

THE UNITED STATES OF AMERICA,

                 Plaintiff,                     Criminal No: 19-20733

v.                                              Hon. Gershwin A. Drain

TORY ANDERSON,


                 Defendant.
                                            /


       GOVERNMENT’S REPLY BRIEF IN SUPPORT OF
     MOTION IN LIMINE TO PRECLUDE DEFENDANT FROM
          INTRODUCING EXCULPATORY HEARSAY

      The government moved to preclude the defendant from

introducing or eliciting his own exculpatory hearsay statements. The

defendant, in his response, did not dispute that his exculpatory

statements, when offered for the truth of the matter asserted,

constitutes inadmissible hearsay. Nor did he dispute that the “Rule of

Completeness” codified in Federal Rule of Evidence 106 does not make

otherwise inadmissible hearsay, admissible.

      Instead, defendant responds by claiming that he intends to elicit

his prior assertions of innocence for non-hearsay purposes. Anderson

                                     1
Case 2:19-cr-20733-GAD-APP ECF No. 42, PageID.234 Filed 08/23/21 Page 2 of 7




first argues that his earlier exculpatory statements are relevant to show

that his later statements are “less reliable and involuntarily made.”

(ECF No. 40, at PageID.277). Defendant’s attempt to introduce hearsay

by proffering an illogical and unsupported non-hearsay purpose fails.

     First, the statements the defendant seeks to elicit consist of self-

serving assertions that he is not a pimp and that he is not prostituting

MV-1. During his interview, the defendant never wavered from these

claims. He did not later confess that he was MV-1’s pimp. Thus, there is

no later statement that contradicts his earlier professions of innocence

that would render it non-hearsay for the purpose defendant stated: to

show that his other statements are less reliable and involuntary.

     Also, there is no logical connection to his earlier self-serving

exculpatory statements and the inculpatory statements the government

intends to introduce. Specifically, the statements the government

intends to introduce relate to the defendant’s knowledge of MV-1’s age

as well as statements that establish his connection to MV-1 and the

hotel room where the undercover agent was summoned for a “date.”

From the beginning of the interview, the defendant confessed that he

found a few weeks prior that MV-1 was 17 years old, thus admitting to


                                     2
Case 2:19-cr-20733-GAD-APP ECF No. 42, PageID.235 Filed 08/23/21 Page 3 of 7




one of the elements of sex trafficking of a minor. He repeated this

admission two more times during the interview. There simply is no

relevance to his self-serving claims that he is not a pimp and his

statements that he knew that MV-1 was 17 that would somehow

transform the nature of his hearsay statements. Instead, Anderson

wants to introduce his self-serving hearsay statement through a

backdoor to demonstrate that those statements are more reliable than

any of his non-hearsay inculpatory statements. He hopes the jury

therefore will rely on his professions of innocence, effectively “testifying

without swearing an oath, facing cross-examination, or being subjected

to first-hand scrutiny by the jury.” United States v. McDaniel, 598 F.3d

540, 545 (6th Cir. 2005); see also Williamson v. United States, 512 U.S.

594, 599 (1994) (finding “[t]he fact that a person is making a broadly

self-inculpatory confession does not make more credible the confession’s

non-self-inculpatory parts”). A hearsay statement does not magically

transform into non-hearsay because the defendant characterizes it as

such. For the purpose described by Anderson, he intends to elicit his

exculpatory statements for the truth of the matter asserted and that is

prohibited.


                                     3
Case 2:19-cr-20733-GAD-APP ECF No. 42, PageID.236 Filed 08/23/21 Page 4 of 7




     Anderson also argues that his prior exculpatory statements are

relevant to show whether agents took investigative steps in response to

his claims of innocence. (ECF No. 40, PageID.277). But his reasoning

necessarily assumes “the truth of the matter asserted”—that defendant

is in fact not a pimp and therefore agents should have acted

accordingly—and therefore, constitutes hearsay under Federal Rule of

Evidence 801(c)(2) and is inadmissible under Rule 802. “When deciding

whether a statement is hearsay, relevance controls. If the statement

has relevance regardless of the truth of the statement, the statement is

not hearsay. However, if the statement enjoys relevance only if true, the

statement is hearsay.” United States v. White, 87 Fed. App’x 566, 569

(6th Cir. 2004). The fact that the defendant denied being a pimp is only

relevant if it is true and therefore constitutes inadmissible hearsay.

      Statements made to officers could be admissible as non-hearsay if

necessary to explain an officer’s actions, see, e.g. United States v. Gibbs,

506 F.3d 479, 486 (6th Cir. 2007) (“‘In some circumstances, out of court

statements offered for the limited purpose of explaining why a

government investigation was undertaken have been determined not to

be hearsay.’”). In this case, the defendant is not seeking to introduce his


                                     4
Case 2:19-cr-20733-GAD-APP ECF No. 42, PageID.237 Filed 08/23/21 Page 5 of 7




exculpatory statements for this reason and his self-serving statements

are not necessary to provide the jury with “a coherent narrative of the

investigation.” United States v. Nelson, 725 F.3d 615, 621 (6th Cir.

2013). The defendant seeks to introduce his exculpatory statements in

order to suggest what the agents should have done, which again, relies

on the truth of those statements. The defendant can certainly attack the

propriety of the investigation through his cross-examination of the

agents and what steps they took or failed to take without eliciting

unnecessary hearsay. Also, to the extent that the defendant argues that

he intends to introduce his own statement to show the effect on the

agents, that proffered purpose also is a transparent attempt to

introduce hearsay through a backdoor since the agents’ state of mind is

not relevant.




                                     5
Case 2:19-cr-20733-GAD-APP ECF No. 42, PageID.238 Filed 08/23/21 Page 6 of 7




                               Conclusion

     The government requests that the Court issue an order

prohibiting defendant from introducing any evidence, making any

statement, or asking any questions that include or could be reasonably

expected to elicit the defendant’s exculpatory hearsay during his post-

arrest interview or elsewhere.

                                   Respectfully submitted,

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Dated: August 23, 2021




                                     6
Case 2:19-cr-20733-GAD-APP ECF No. 42, PageID.239 Filed 08/23/21 Page 7 of 7




                     CERTIFICATE OF SERVICE

      I certify that on August 23, 2021, I electronically filed this motion

for the United States with the Clerk of the United States District Court

for the Eastern District of Michigan using the ECF system, which will

send notification of such filing to all counsel of record.


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                                      7
